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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------- x
 In re:                                                          :
                                                                 :    Chapter 7
 ORLY GENGER,                                                    :
                                                                 :    Case No.: 19-13895 (JLG)
                                     Debtor.                     :
                                                                 :
 --------------------------------------------------------------- x

  SUPPLEMENTAL DECLARATION OF ROCCO A. CAVALIERE IN SUPPORT OF
 CHAPTER 7 TRUSTEE’S MOTION FOR AN ORDER PURSUANT TO RULE 9019 OF
    THE FEDERAL RULES OF BANKRUPTCY PROCEDURE (A) APPROVING
      SETTLEMENT AGREEMENT AND (B) GRANTING RELATED RELIEF

                 I, Rocco A. Cavaliere, hereby declare pursuant to 28 U.S.C. § 1746 as follows:

                   1.        I am a Partner at the law firm of Tarter Krinsky & Drogin LLP, counsel to

Deborah J. Piazza, the successor chapter 7 trustee of the estate of Orly Genger. I respectfully

submit this Supplemental Declaration in further support of the Trustee’s Motion for an Order

Pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure (A) Approving Settlement

Agreement and (B) Granting Related Relief (the “Motion”) [Dkt. No. 421] and in support of the

Trustee’s Reply to Various Objections to the Motion that is being filed contemporaneously

herewith.

                   2.        Attached as Exhibit 82 is a true and correct copy of an email chain between

John Dellaportas and Rocco Cavaliere dated July 1 - 2, 2021.

                   3.        Attached as Exhibit 83 is a true and correct copy of an email and term sheet

dated May 4, 2020.

                   4.        Attached as Exhibit 84 is a true and correct copy of a memorandum dated

December 16, 2019, without exhibits, prepared by Emmet Marvin & Martin LLP.




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                  I declare under penalty of perjury that the foregoing is true and correct.

Executed on: July 27, 2021
                                                  /s/Rocco A. Cavaliere
                                                  Rocco A. Cavaliere
                                                  Tarter Krinsky & Drogin LLP
                                                  1350 Broadway, 11th Floor
                                                  New York, New York 10018
                                                  (212) 216-8000




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                                 EXHIBIT 82
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Sheree Nobles

From:                            Rocco A. Cavaliere
Sent:                            Tuesday, July 27, 2021 3:05 PM
To:                              Sheree Nobles
Subject:                         FW: Genger




                    Rocco A. Cavaliere|Partner
                    T: 212-216-1141|F: 212-216-8001
                    rcavaliere@tarterkrinsky.com|Bio
                    Tarter Krinsky & Drogin LLP
                    1350 Broadway|New York|NY|10018
                    www.tarterkrinsky.com|LinkedIn
                    COVID-19 RESOURCE CENTER

From: John Dellaportas <JDellaportas@EMMETMARVIN.COM>
Sent: Friday, July 2, 2021 1:26 AM
To: Rocco A. Cavaliere <rcavaliere@tarterkrinsky.com>
Cc: Thomas A. Pitta <TPITTA@EMMETMARVIN.COM>
Subject: Re: Genger

Good luck with that.


On: 02 July 2021 01:12,
"Rocco A. Cavaliere" <rcavaliere@tarterkrinsky.com> wrote:


Agreed that your motion to dismiss was completely unnecessary. And wasteful. My firm will either be paid its
reasonable fees from the estate or possibly from your client, to the extent we decide to seek reimbursement of such
fees after the motion to dismiss is denied. Either way is fine.

                    Rocco A. Cavaliere|Partner
                    T: 212-216-1141|F: 212-216-8001
                    rcavaliere@tarterkrinsky.com|Bio
                    Tarter Krinsky & Drogin LLP
                    1350 Broadway|New York|NY|10018
                    www.tarterkrinsky.com|LinkedIn
                    COVID-19 RESOURCE CENTER


From: John Dellaportas <JDellaportas@EMMETMARVIN.COM>
Sent: Friday, July 2, 2021 1:03 AM
To: Rocco A. Cavaliere <rcavaliere@tarterkrinsky.com>
Cc: Thomas A. Pitta <TPITTA@EMMETMARVIN.COM>
Subject: Re: Genger

Any fees you incurred in connection with the motion to dismiss were completely unnecessary and hopefully will never
be reimbursed from the estate.



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On: 02 July 2021 00:54,
"Rocco A. Cavaliere" <rcavaliere@tarterkrinsky.com> wrote:


John, you caused our firm to incur significantly more in legal fees than were needed in this case due to the motion to
dismiss you filed, and now you are complaining about our legal fees, which is a fraction of the $2.55 million recovery for
the estate? This is a waste of time. I am sorry I bothered you with my email earlier. Good night.

                     Rocco A. Cavaliere|Partner
                     T: 212-216-1141|F: 212-216-8001
                     rcavaliere@tarterkrinsky.com|Bio
                     Tarter Krinsky & Drogin LLP
                     1350 Broadway|New York|NY|10018
                     www.tarterkrinsky.com|LinkedIn
                     COVID-19 RESOURCE CENTER


From: John Dellaportas <JDellaportas@EMMETMARVIN.COM>
Sent: Friday, July 2, 2021 12:33 AM
To: Rocco A. Cavaliere <rcavaliere@tarterkrinsky.com>
Cc: Thomas A. Pitta <TPITTA@EMMETMARVIN.COM>
Subject: Re: Genger

How much of that $2.55 million will be going to your firm, Rocco?


On: 02 July 2021 00:25,
"Rocco A. Cavaliere" <rcavaliere@tarterkrinsky.com> wrote:


John,

I respectfully disagree. There is nothing outrageous about a $2.55 million settlement that ensures a significant
distribution to holders of allowed claims for the reasons set forth in the motion. On the other hand, your client’s motion
to dismiss and the significant costs that were required to be borne by all parties with that wasteful exercise is what is
truly outrageous. Have a good evening counselor.

Regards,

Rocco

Sent from my iPhone

                     Rocco A. Cavaliere|Partner
                     T: 212-216-1141|F: 212-216-8001
                     rcavaliere@tarterkrinsky.com|Bio
                     Tarter Krinsky & Drogin LLP
                     1350 Broadway|New York|NY|10018
                     www.tarterkrinsky.com|LinkedIn
                     COVID-19 RESOURCE CENTER


        On Jul 2, 2021, at 12:00 AM, John Dellaportas <JDellaportas@emmetmarvin.com> wrote:


        Rocco, it would have been better had you approached us before giving away the entire $32.3 million at
        issue to the debtor and her fraudulent transferees. As you know, we made several offers to you in that
                                                             2
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regard, all of which you disregarded (except for the one you initially agreed to and then reneged
on). Now that you have given away the store, while securing a generous payout for your own law firm,
you have left no pathway toward a meaningful resolution, short of withdrawing your outrageous 9019
motion. We strongly suggest you do so. John


John Dellaportas
Emmet, Marvin & Martin, LLP
120 Broadway 32nd Floor
New York, NY 10271
Tel: 212-238-3092
Fax: 212-238-3100
Email: jdellaportas@emmetmarvin.com

<0.jpg>

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or a person responsible for delivering it to the intended recipient, you are not authorized to and must
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From: Rocco A. Cavaliere <rcavaliere@tarterkrinsky.com>
Sent: Thursday, July 1, 2021 11:57 PM
To: Thomas A. Pitta <TPITTA@EMMETMARVIN.COM>
Cc: John Dellaportas <JDellaportas@EMMETMARVIN.COM>
Subject: RE: Genger


Tom,

It has been exactly one month since I approached you about whether Sagi would be interested in the
Trustee attempting to reach a global resolution by and between the Sagi/Dalia/Oldner group and the
“Broser/Arie/Herschmann group”, whereby the parties could exchange mutual releases. A global
resolution, if one could be reached between the parties, could result in a seven figure payment for Sagi
and would avoid any additional disputes concerning counterclaims and possible equitable
subordination, while at the same time providing finality to the endless Genger family litigations. The
Trustee and I are disappointed that you did not even bother to respond to our inquiry.

Rocco

 <image001 .png>




                   Rocco A. Cavaliere|Partner
                   T: 212-216-1141|F: 212-216-8001
                   rcavaliere@tarterkrinsky.com|Bio
                   Tarter Krinsky & Drogin LLP
                   1350 Broadway|New York|NY|10018
                   www.tarterkrinsky.com|LinkedIn
                   COVID-19 RESOURCE CENTER
From: Rocco A. Cavaliere <rcavaliere@tarterkrinsky.com>
Sent: Tuesday, June 1, 2021 12:31 PM
To: Thomas A. Pitta <TPITTA@EMMETMARVIN.COM>
Cc: John Dellaportas <JDellaportas@EMMETMARVIN.COM>
Subject: Genger
                                                                3
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           Tom,

           The Trustee has asked me to relay a proposal in the hopes of a potential global resolution of the case
           and the years of Genger family litigation. Let me know if you have a few minutes to speak this
           afternoon. Thanks.

           Rocco

            <image001 .png>   Rocco A. Cavaliere|Partner
                              T: 212-216-1141|F: 212-216-8001
                              rcavaliere@tarterkrinsky.com|Bio
                              Tarter Krinsky & Drogin LLP
                              1350 Broadway|New York|NY|10018
                              www.tarterkrinsky.com|LinkedIn
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           measures in place to ensure our services continue uninterrupted. However, because of anticipated delays in receiving regular mail and other
           deliveries, please e-mail copies of anything you send by regular mail or delivery, including issuing remittances electronically, until further
           notice. Please contact Katrinia Soares at reception@tarterkrinsky.com or by phone at 212-216-8000 with any questions. Thank you in
           advance for your courtesies during these unprecedented times.

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reception@tarterkrinsky.com or by phone at 212-216-8000 with any questions. Thank you in advance for your courtesies during these unprecedented times.

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                                 EXHIBIT 83
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Sheree Nobles

From:                                                                                                                                          DSpelfogel@foley.com
Sent:                                                                                                                                          Monday, May 4, 2020 4:50 PM
To:                                                                                                                                            Rocco A. Cavaliere
Subject:                                                                                                                                       Settlement communication
Attachments:                                                                                                                                   Settlement Term Sheet Comparison (002).docx


Rocco, here are our comments to the draft term sheet, this should not be controversial, these include a few items from
our emails that didn’t make it into the draft, we also included the provision for payment of $50K to the trustee
irrespective of approvals by the court, to cover your costs, and general clean-up (we did not include anything re
dismissal given this wasn’t part of our deal, we are happy to discuss this if and when there is agreement (which we
doubt) by otherside to dismiss with prejudice to a refiling).

Please let me know if you have any questions,

Thank you,

Doug




From: Rocco A. Cavaliere <rcavaliere@tarterkrinsky.com>
Sent: Monday, May 4, 2020 10:43 AM
To: Spelfogel, Doug <DSpelfogel@foley.com>
Subject: RE: Settlement communication

** EXTERNAL EMAIL MESSAGE **

FRE 408
Settlement Discussions Only

Doug,

As discussed, I am pleased to advise that the Trustee is prepared to move forward with a settlement with Sagi Genger and related
parties. Thank you for your assistance. Please also extend my thanks to Sagi, John, Tom, Adam, and others.

In furtherance of the upcoming conference, I would like, if possible, to send the Court today a short letter enclosing a settlement term
sheet so that the Court is aware of the terms of the settlement, which remain subject to a final settlement agreement between the
parties. In that regard, as discussed, please find a draft settlement term sheet I put together quickly for your side's feedback. The
settlement term sheet remains subject to the Trustee's review and approval.

Rocco


     The linked image cannot be displayed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to
     the correct file and location.
                                                                                                                                 Rocco A. Cavaliere | Partner
                                                                                                                                 D: 212-216-1141 | F: 212-216-8001
                                                                                                                                 rcavaliere@tarterkrinsky.com | Bio

                                                                                                                                 Tarter Krinsky & Drogin LLP
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-----Original Message-----
From: DSpelfogel@foley.com <DSpelfogel@foley.com>
Sent: Sunday, May 3, 2020 9:18 PM
To: Rocco A. Cavaliere <rcavaliere@tarterkrinsky.com>
Subject: [EXT] Settlement communication


Rocco, was good talking earlier.

For good order wanted to provide recap re numbers, see below, if questions just let me know.

Payments to estate:

$350K cash upfront to estate guaranteed
$600K, to estate from first recoveries (after attorneys fees) from fraud litigation 50% to estate of recoveries above $23MM (calculated
based upon the next recoveries after attorneys fees and the $950K paid/noted above)

All of which is subject to papering in agreement signed by both sides etc

If any questions, let me know.

Thanks,

doug



Douglas E. Spelfogel
Partner
Foley & Lardner LLP
90 Park Avenue
New York, New York 10016
Tel: 212-338-3566
Email: dspelfogel@foley.com


Sent from my iPhone


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PURSUANT TO FRE 408 -FOR SETTLEMENT PURPOSES ONLY


                        SETTLEMENT TERM SHEET [Sagi/Dalia Comments]

       This Settlement Term Sheet dated May 4, 2020 summarizes the salient terms of a
proposed comprehensive settlement of disputes by and between the SagiSettling Parties (as
defined below) and Deborah J. Piazza, the successor chapter 7 trustee of the estate of In re Orly
Genger, Case Number (the “Bankruptcy Estate”):

    1.        The Trustee, on behalf of the Bankruptcy Estate, shall assign to Sagi Genger (or his
              designee) all of the Bankruptcy Estate’s rights of any and all kinds in and to recover
              $32.3 million, plus interest, attorneys’ fees, expenses and costs (the “Fraudulent
              Conveyance Action”) which represents the settlement amount in a June 16, 2013
              settlement agreement (with the “so-called Trump Group Settlement”),, comprised of
              (i) $17.3 million in cash that was paid by the Trump Group (the “Settlement Cash
              Proceeds) through Orly Genger to entities controlled by Arnold Broser, David Broser,
              and Arie Genger and/or entities controlled by one or more of the foregoing, and (ii)
              two $7.5 million notes (the “Trump Notes”) payable by the Trump Group, after
              satisfaction of certain conditions (the “Fraudulent Conveyance Action”)., together
              with all such rights, claims (including the pending litigation in the US District Court
              under Case No. ________), and proceeds of all of the foregoing (the “Trump
              Settlement Proceed Rights”).

    2.        Sagi to pay (or cause to be paid) the estate $350,000 (the “Initial Settlement
              Payment”) within five (5) business days of the execution of an executed settlement
              agreement (the “Settlement Agreement”), to be held in the Trustee’s escrow account
              pending approval of any Settlement Agreement, withprovide however, that $50,000
              of such monies shall be immediately released to the Trustee (and be retained by the
              Trustee irrespective of whether the Settlement Agreement is approved by the Court),
              with the balance of $300,000 of such monies released to Trustee’s estate account
              immediately upon aentry of a final Court order (the “Settlement Order”) approving a
              motion approving the Settlement Agreement. the Settlement Agreement. If the Court
              denies approval of the Settlement Order or the Settlement Agreement is not approved
              within 60 days of execution of the agreement (or such longer period as agreed by the
              parties), the Initial Settlement Payment shall be returned to Sagi within five (5)
              business days. This Initial Settlement Payment will become property of the estate
              upon approvalentry of the Settlement AgreementOrder, and is not dependent on the
              ultimate success of Sagi inwith regard to the Fraudulent Conveyance Action.
              (provided however that $50,000 of such amount shall be released to the Estate
              immediately upon execution of the Settlement Agreement). In addition, Sagi shall
              also make additional payments to the Trustee on behalf of the Bankruptcy Estate as
              follows: (i) $600,000 of the first recoveries from the Fraudulent Conveyance Action,
              after deduction for Sagi’s attorneys’ fees and, costs, and expenses, within five (5)
              business days of collection therefrom, and (ii) 50% of any recoveries over
              $23,000,000 from the Fraudulent Conveyance Action, within 5calculated based upon
              the next recoveries after Sagi’s attorneys fees, costs and expenses and the $950,000
              paid above, within five (5) business days of collection therefrom.


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    3.        Upon entry of the Settlement Order, Sagi, Dalia, and Michael Oldner on behalf of the
              Orly Genger 1993 Trust, the Sagi Genger 1993 Trust, and any of their successors and
              assigns (and any other party affiliated therewith, including TPR, Recovery Effort,
              Inc., Manhattan Safety Maine, Inc.., and D&K) (collectively, the “SagiSettling
              Parties”)1 to withdraw alllimit their claims against the estate, provided however that
              any claims that Sagi may have against the Debtor arising from Judge Forrest’s
              decision, approved by the Second Circuit, shall have recourse against the Fraudulent
              Conveyance Action only. Further, the Sagi solely to the Trump Settlement Proceed
              Rights. Further, upon the Court’s approval of the Settlement Agreement, the Settling
              Parties --upon the written request of the Trustee-shall withdraw the pending discharge
              actions filed in the Bankruptcy Court and agree thatshall not object to the Debtor shall
              bebeing discharged from any debt owing to such parties as of the date the Court
              enters an order approving the Settlement Agreement.the Settlement Order, provided
              that the Settling Parties’ claims against the Debtor shall be specifically preserved by
              the Settlement Order to the extent necessary for them to collect under the Fraudulent
              Conveyance Action. Further, Dalia Genger shall withdraw the constructive trust
              action filed in the Bankruptcy Case. Further, upon approvalentry of the Settlement
              AgreementOrder, the SagiSettling Parties (and any assignees or otherwise) shall not
              participate in the case, except as otherwise provided herein, it being anticipated that
              the rights of the SagiSettling Parties to collect on any claims they have asserted
              within the Bankruptcy proceeding will be limited to Sagi’s successful pursuit of all
              claims in the Fraudulent Conveyance Actionto the Trump Settlement Proceed Rights.
              Nothing herein shall be understood as to limit the Proof of Claim of TPR Investment
              Associates, Inc. against the third-party sureties to recover on the bonds described in
              its Proof of Claim.


    4.        Mutual releases between the Trustee on behalf of the Bankruptcy Estate of all estate
              claims against the SagiSettling Parties.

    5.        Stay of all pending litigation and deadlines in all pending actions described in the
              Status Chart provided to the Court on April 17, 2020 while the Trustee prosecutes the
              Settlement Motion, including withdrawal of Sagi’s dismissal motion upon Court’s
              approval of a Settlement Agreement as provided herein.

    6.        Sagi to waive lien on homestead upon Court approval of the Settlement Agreement.

    7.        Trustee to use best efforts to request thatget Arie Genger to waive any lien against the
              Debtor’s rights, if any, inwith respect to the Trump NotesSettlement Proceed Rights
              which may be owned by the Bankruptcy Estate; absent such consent, the Trustee shall
              provide Sagi with standing to pursue all rights of the Trustee for avoidance of such

1
         The definition of SagiSettling Parties will be written as broadly as possible to cover all parties associated in
any way to the SagiSettling Parties, but specifically to exclude Orly Genger, Arie Genger, Eric Herschmann,
Kasowitz and any other parties that are subjects of the Fraudulent Conveyance Action but could be considered
“insiders” or “affiliates” or Sagi or Dalia Genger.


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              lien on the Trump Notes, if deemed necessary in connection with the Fraudulent
              Conveyance Action.Proceed Settlement Rights.

    8.        Estate retains the rights to pursue any and all assets and other causes of action that
              estate may have, except relating to (i) the Fraudulent Conveyance ActionTrump
              Proceed Settlement Rights, which isclaims are being assigned to Sagi, and (ii) the
              claims against the SagiSettling Parties, which are subject of the mutual release set
              forth in paragraph no. 4. Thus, for the avoidance of all doubt, the Trustee retains all
              other rights to assets and causes of action, including the Bankruptcy Estate’s claims
              against Zeichner Ellman for all possible acts or omissions that caused damage to the
              Debtor, except for Zeichner’s acts and omissions relating to Trump Proceed
              Settlement Rights, including but not limited to the District Court action styled as
              Recovery Effort Inc. v. Zeichner Ellman and Krause and Wachtel Misry, S.D.N.Y. 19
              Civ 5641 (Judge Broderick)).

    9.        This Settlement Term Sheet is non-binding and remains subject to the execution of a
              mutually acceptable Settlement Agreement between the SagiSettling Parties and the
              Trustee who shall use best efforts to execute by May 1215, 2020.

    10.       The Trustee shall use best efforts to file a motion to approve the Settlement
              Agreement by May 2622, 2020;

    11.       The parties to the Settlement Agreement shall provide such further cooperation as
              may become necessary to effectuate the terms of the agreement, and shall not take
              any steps which would frustrate the property rights of the other.

    11.12. The parties reserve their rights to include additional terms in the Settlement
           Agreement that are not otherwise inconsistent with the foregoing and are otherwise
           necessary to effectuate a global settlement between the parties.

ADD SIGNATURE BLOCK FOR COUNSEL TO FOREGOING PARTIES.




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                                 EXHIBIT 84
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                          EMMET, MARVIN & MARTIN, LLP
                                      COUNSELLORS AT LAW
                                           120 Broadway
                                     New York, New York 10271
                                          212-238-3000
                                        Fax: 212-238-3100
                                      www.emmetmarvin.com

                                    MEMORANDUM

   TO:            Deborah Piazza, Esq.
   FROM:          Thomas A. Pitta
                  John Dellaportas

   DATE:          December 16, 2019

   RE:            In re Orly Genger, Case #: 19-13895-jlg



          Our firm represents judgment creditor Sagi Genger (“Sagi”). We write to provide
   you with a broad introduction to the above-referenced bankruptcy case, and to request a
   meeting at your earliest convenience to discuss our views on a way forward.

                                     Executive Summary
           This is not an ordinary bankruptcy case. The debtor, Orly Genger (“Orly”), and
   her husband, Eric Herschmann, enjoy a collection of multi-million dollar homes around
   the world. Mr. Herschmann is a senior partner at a major New York law firm. At his
   prior job, he received an executive severance package of $50 million and use of a
   corporate jet. His exotic car collection includes a Rolls Royce, Bentley and Lamborghini.
   This case is an attempt to shield that wealth and Orly’s prior diversion of tremendous
   value through fraudulent transfers intended to frustrate her legitimate creditors.

           Most significantly, the U.S. District Court for the Southern District of New York,
   in decision later affirmed by the U.S. Court of Appeals for the Second Circuit, found that,
   in 2013, “Orly had monetized her beneficial interest [in a family business] for $32.3
   million.” Genger v. Genger, 2018 WL 3632521 (S.D.N.Y. July 27, 2018), aff’d, 771 F.
   App’x 99 (2d. Cir. 2019). See Exhs. A, B. Post-judgment discovery has revealed that, in
   the ensuing six years, Orly purported to convey and encumber that $32.3 million to her
   family members—specifically, her husband, her father Arie Genger (“Arie”), and certain
   of his creditors—for no meaningful consideration. In June and July of this year, Sagi
   brought proceedings to set aside those fraudulent conveyances. Orly responded with this
   bankruptcy filing, in which she claims “total property” of only $56,628 plus a 50%
   interest in an Austin, Texas downtown condominium. See Exh. C.




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            In a transparent attempt to frustrate collection, Orly filed for bankruptcy not in
   this District, in which these matters have been steadily litigated since 2008, but rather in
   the U.S. Bankruptcy Court for the Western District of Texas, where she claims to have
   recently moved. In September of this year, Sagi moved to dismiss the case as a bad faith
   filing, or in the alternative to transfer the case to this District. See Exh. D.

           By Order dated November 7, 2019, the U.S. Bankruptcy Court granted the motion
   to transfer, while deferring on the motion to dismiss in favor of the transferee court. See
   Exh. E. Central to the Court’s thinking was the missing $32 million:

          … [T]he bankruptcy will create a new layer of litigation that arises from the
          same transactions, facts and set of occurrences that are the subject of
          litigation that has been concluded and the litigation that remains pending in
          New York.

                 In particular I’m thinking of the Section 727 adversaries in
          which the Debtor will be required to explain what happened to 32
          million dollars …. The issues related to [Orly’s Austin] condo, the gift and
          the pledge, will be only a fraction of the issues dealt with in the fraudulent
          conveyance and nondischarge cases. The other issues all relate to the 32
          million and where it went, all of which has been the subject of more
          than a decade of litigation pending in New York.

   Exh. F at 4, 5, 8 (emphases added).

           Recovery of the $32.3 million for the Chapter 7 estate should be sufficient to pay
   most or all of the outstanding claims against the estate. Nor should such recovery be a
   particularly lengthy or challenging process. On June 11, 2019, Sagi filed a CPRL 5225
   motion to set aside the conveyances, based on the findings of the U.S. District Court
   (discussed above). See Exh. G. Orly’s lawyers responded by seeking a lengthy extension
   of Orly’s response deadline, supposedly to accommodate vacation schedules. Instead, a
   few days before her response date, Orly filed this case and invoked the stay.

           In other words, basically all that is left to recover the $32.3 million is a reply
   brief. Whether that reply brief is ultimately filed in the Bankruptcy Court or the District
   Court, the result should be the same. It has been fully adjudicated that Orly monetized
   her interest in the family business for $32.3 million, and it is undisputed that the parties
   who received that money gave her no consideration for it. Below, we provide the
   outlines for a potential settlement agreement that will recover that money for the estate,
   and thereby ensure that all estate creditors are paid in full.




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                                   The Missing $32.3 Million
           On June 16, 2013, Orly entered into a settlement agreement (the “2013 Settlement
   Agreement”) with certain third parties (together, the “Trump Group”) whom she and Arie
   had sued over her claim to ownership of shares in a family business called Trans-
   Resources, Inc. (“TRI”). Orly fought for over a year to keep the settlement confidential,
   but ultimately the District Court directed its production. See Exh. H. In it, Orly settled
   her claims for $32.3 million, consisting of $17.3 million cash up front, plus two $7.5
   million promissory notes to be paid once certain conditions were met.

           Immediately upon receipt, Orly’s then-attorney (at her direction) wired the first
   $17.3 million to a purported trust established for the benefit of her father’s (not her)
   lenders, Arnold and David Broser. See Exh. I. Because, however, the remaining $15
   million had not yet come due, the money could not be fraudulently conveyed. So instead,
   by agreement dated March 31, 2017, Orly assigned away a significant portion of her
   future payment—the first $4.5 million to the Brosers, and the second $2.0 million to her
   husband, with the balance to be paid in the future pursuant to hers and Arie’s joint written
   instructions (which, to date, have not been given). See Exh. J.

           In other words, before any fraudulent conveyance action need be brought, there is
   already $8.5 million in the estate (which Orly failed to list on her schedules).1 While
   release of the funds requires Arie’s consent, Arie has advised the IRS that Orly is entitled
   to 58.13% of any recovery under the 2013 Settlement Agreement, and the District Court
   found that that all 100% was attributable to Orly’s claims. That means the estate’s share
   of the $32.3 million, at a minimum, is worth $18.8 million. If the District Court’s past
   findings are collateral estoppel, or if the Bankruptcy Court independently reaches the
   same findings, then the estate will be entitled to all $32.3 million.2

                              Orly’s Condominium Ownership
           Other than her claim to the $32.3 million, Orly’s only other material asset is her
   50% interest (her husband owns the other 50%) in a multi-million dollar condominium
   atop the W Hotel in downtown Austin, Texas. According to real estate professionals, the
   apartment is worth at least $3 million in total. See Exh. M.


   1
          The Trump Group asserts an offset claim against the notes in the amount of
          approximately $3 million.
   2
          Because the litigation claims Orly settled were brought by Orly on behalf of her
          trust, the Orly Genger 1993 Trust, the Trust has separately brought its own
          fraudulent conveyance action seeking recovery of the $32.3 million. See Exh. K.
          Sagi and the Trust have entered into an Inter-Creditor Agreement to share any
          proceeds recovered as between the two of them. See Exh. L.



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                                    Orly’s Claims against Sagi
          As you will see from the various decisions, the Genger family, unfortunately, has
   been embroiled in litigation for over a decade. Other than the litigations involving the
   $32.3 million, these suits are largely concluded and have little bearing on the current suit.
   However, Orly currently has two suits with “live” claims against Sagi:

           #1: Orly Genger v. Sagi Genger, N.Y. Sup. Ct. 100697/2008. In this suit, Orly
   claimed that Sagi had fraudulently induced her into selling her 50% share in a Canadian
   real estate venture for only $100,000, when in fact her share was worth $12 million. The
   Supreme Court assigned the matter to a CPA financial accounting expert to calculate the
   true value of her share. Earlier this year, the CPA issued a 145-page report, finding that
   Orly’s interest was worth between $99,551 and $132,374. See Exh. N at 63.

          While Sagi disagrees with certain of the CPA’s findings, in order to spare himself
   and the estate the burden and expense of a trial, he is willing to settle for the higher of the
   two numbers, and pay $32,374 as an offset on his claim against the estate.

            #2: Orly Genger v. Dalia Genger et al, N.Y. Sup. Ct. 109749/2009. In this suit,
   Orly claimed that Sagi had harmed her trust (the Orly Genger 1993 Trust) by selling
   shares of a business (TPR Investment Associates) in which her trust had an indirect
   interest, for less than market value. Following a two-week trial before the late Judicial
   Hearing Officer Gammerman, which the Supreme Court adopted in full, it was found that
   the sale price was proper, and damages were $0. See Exh. O. Orly has appealed.

           Sagi does not believe Orly’s appeal, if perfected, will be meritorious. She will be
   seeking to have the Appellate Division overturn witness credibility findings made by a
   widely-respected judge, following a lengthy trial. Further, even were she to prevail, any
   recovery would go to the Orly Genger 1993 Trust, not the estate. Accordingly, we do not
   believe this claim belongs to the estate. If, nonetheless, you believe you have authority to
   settle this case, and the Bankruptcy Court agrees, defendants Sagi, D&K GP LLC and
   TPR are willing to settle the case as a joint walk-away, in which they would drop their
   claims for $700,000 in legal fees and expenses for the wrongly-issued attachment and
   injunction, and the claims against all defendants would be dismissed.

                             The Prior, Non-Approved Settlement
          Prior to transfer, the former, Texas-based, Chapter 7 trustee (without offering
   anyone the opportunity to make a counter) entered into a proposed settlement agreement
   with the debtor, her husband, and the recipients of the aforementioned $32.3 million,
   whereby, in exchange for an upfront payment of $400,000 and a conditional, back-end
   payment of $800,000, the estate would abandon its claim to the 50% apartment interest,
   the $8.5 million in uncommitted future litigation proceeds, and the $23.8 million in
   fraudulently transferred and/or encumbered litigation proceeds.



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           The settlement was never approved and—in transferring the case to this District—
   the Court made it clear the settlement was unlikely to have been approved even absent
   transfer. See Exh. F at 3 (“[T]he Trustee here has already… reached a settlement. A move
   to New York could lead to a new Trustee, and a need for that Trustee to… redo what has
   been done …. But it’s not clear how much, in fact, has been done. The 9019 is only 14
   pages and is mostly platitudes, very sparse description of the many facts in play here and
   it does not even identify, let alone discuss, the issues being settled.”).

                               Sagi’s Proposed Settlement Terms
           In any event, Sagi is prepared to offer the estate significantly better settlement
   terms than any which the debtor and her cohorts have offered or can offer.

          1. DIP Loan. In order to ensure that the trustee has sufficient funds to proceed
   with the administration of the estate, Sagi is willing to provide the estate with an
   immediate, $150,000, interest-free DIP loan.

          2. The Apartment. The trustee would agree to sell the entire apartment interest
   on the open market. In exchange, Sagi would provide a stalking horse bid of $1.6
   million--twice the implied value of the property under the prior, non-approved settlement
   between the former trustee and Eric Herschmann.

         3. Orly’s Cases against Sagi. Orly’s cases against Sagi will be resolved in the
   manner proposed above.

           4. The Missing $32.3 Million. As noted above, Sagi was on the cusp of getting
   a ruling from the District Court restoring the $32.3 million in fraudulent conveyances to
   the estate, when Orly filed for bankruptcy to stop that very outcome. The CPLR 5225
   motion is already briefed, and the estate has the right to proceed with that motion.
   Should it do so, Sagi would agree to front the litigation expenses for Emmet, Marvin &
   Martin, LLP to prosecute the remainder of briefing, any evidentiary hearing, and any
   appeal on behalf of the trustee (Sagi’s collection costs to be recouped only from any
   recovery in the fraudulent conveyance action).

           As noted above, the payment of the final $15 million of the $32.3 million is
   subject to certain contingencies (namely, the execution of certain third-party releases).
   Sagi will obtain the requisite releases from those third parties. Lastly, if the estate wishes
   to enter into a sharing agreement with the Orly Genger 1993 Trust similar to the one Sagi
   has entered into, Sagi will use his best efforts to assist the parties in reaching such a deal.

           5. Arie’s Fraudulent Note and UCC Filing. Less than one year prior to the
   filing of the bankruptcy, Arie filed a UCC by which Orly purported to pledge all of her



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   assets to her father. Sagi is prepared to provide evidence demonstrating the promissory
   note that UCC filing purports to secure is backdated and fraudulent and largely reflects
   claims for which Orly has no legitimate liability. Upon submission of such evidence, the
   trustee will retain Emmet, Marvin & Martin, LLP to object to Arie’s claims and to bring
   an action to set aside the preferential filing of the UCC.

                                                      TP/JD




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